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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11     TYANNA WALKER, et al.,                    Case No.: 19cv347-LAB (JLB)
12                                 Plaintiffs,
                                                 ORDER DENYING REQUEST TO
13     v.                                        STAY CASE
14     THE CONTROL GROUP MEDIA
       COMPANY, INC., et al.,
15
                                 Defendant.
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18          After Defendants filed a motion to compel arbitration, which Plaintiffs failed
19   to oppose, the parties filed a joint motion (Docket no. 22) agreeing that the claims
20   should be arbitrated, and asking the Court to stay the case pending arbitration.
21   Bearing in mind that arbitration is likely to resolve the case, the Court is not inclined
22   to stay the case and leave it pending needlessly. Rather, the Court is inclined to
23   dismiss the case without prejudice. If, following arbitration, any issues remain to
24   be litigated, the case can be refiled, and the parties should file a notice of related
25   case at that time.
26          If the parties agree to this, they do not need to do anything, and the Court
27   will issue an appropriate order. If they object, they must no later than June 25,
28   2019 file a brief not longer than three pages, explaining why dismissal without

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                                                                              19cv347-LAB (JLB)
     Case 3:19-cv-00347-LAB-JLB Document 23 Filed 06/18/19 PageID.477 Page 2 of 2



 1   prejudice is inappropriate. One joint brief should be filed, and all parties who
 2   oppose dismissal should join in it. Briefing in response to the Court’s order to show
 3   cause (Docket no. 19) is STAYED.
 4         IT IS SO ORDERED.
 5   Dated: June 18, 2019
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 7                                           Hon. Larry Alan Burns
                                             Chief United States District Judge
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